Case 2:17-cv-05138-MMB Document 1-3 Filed 11/15/17 Page 1 of 1
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintitt, 3418 N 18th Street, Philadelphia, PA 19140

Address of Defendant: 323 W Lakeside Avenue, Suite 200, Cleveland, OH 44113
Philadelphia, PA

Place of Accident, Incident or Transaction: ea:
(Use Reverse Side For Additional Space)

 

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7,1(a)) YesO Now)
Does this case involve multidistrict litigation possibilities? YesO Nok]
RELATED CASE, LF ANY:

Case Number: Judge Date Terminated:

 

Civil cases are deemed related when yes is answered to any of the following questions:

1, Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
Yes Nol
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?
YesO Now
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? YesO No&l

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

 

 

 

YesO No®
CIVIL: (Place W% 1 ONE CATEGORY ONLY)
A. Federal Question Cases: B. Diversity Jurisdiction Cases:
1, O Indemnity Contract, Marine Contract, and All Other Contracts 1. G Insurance Contract and Other Contracts
2, Q FELA 2. GO Airplane Personal Injury
3. O Jones Act-Personal Injury 3. O Assault, Defamation
4. O Antitrust 4. O Marine Personal Injury
5. O Patent 5. Q Motor Vehicle Personal Injury
6. O Labor-Management Relations 6. O Other Personal Injury (Please specify)
7. O Civil Rights 7. O Products Liability
8. O Habeas Corpus 8. O Products Liability — Asbestos
9. Q Securities Act(s) Cases 9. O AJ] other Diversity Cases
10.0 Social Security Review Cases (Please specify)
11. Atl other Federal Question Cases
(Please specity)_Fair Debt Collection Practices Act, 15 U.S.C § 1692, et seq.
ARBITRATION CERTIFICATION
(Check Appropriate Category)
i. Mark D. Mailman co record dmhereby certify:

     
   

 

kl Pursuant to Local Civil Rule 53.2, Section SQ@yrthat to the best of my belief, the damages recoverable in this civil action case exceed the sum of

$150,000.00 exclusive of interest and costs;
Ff
LI: ZEEE 77760

O Relief other than monetary damages is sought.

 
 

 

 

   

pare: 11/15/2017 4
Attorney-at-Law Attomey 1.D.#
NOTE: A trial de novo wi 7 4ury only if there has been compliance with F.R.C.P. 38.
eet sual
I certify that, to my knowledge, the within case not related to ayy ETO itig or within one year previously terminated action in this court

except as noted above.

77760

pare: 11/15/2017 Z
Attorney-at-Law \ Attorney LDH

 

CIV. 609 (5/2012)
